                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA



UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:10-cr-77-03
v.                                                     )
                                                       )       MATTICE / LEE
ERIC JABBAR WILLIAMS                                   )
                                                       )
                                                       )


                                             ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count Three of the three-count

Indictment; (2) accept Defendant’s plea of guilty to Count Three of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count Three of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter [Doc. 35]. Neither party filed a timely objection to the report

and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

report and recommendation [Doc. 35] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count Three of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count Three of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count Three of

               the Indictment;




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    (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

          and

    (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

          scheduled to take place on Monday, September 27, 2010 at 9:00 a.m. before the

          Honorable Harry S. Mattice, Jr.

    SO ORDERED.

    ENTER:


                                                     /s/Harry S. Mattice, Jr.
                                                     HARRY S. MATTICE, JR.
                                                UNITED STATES DISTRICT JUDGE




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